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TRULINCS 05963122 - WILLIAMS, ANTHONY TROY - Unit: HON-D-B

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FROM:05963122              ^
TO: Isaacson, Larsrobert
SUBJECT: ACQUITTAL MOTION COVER PAGE
DATE: 02/17/2020 05:57:08 PM

                                                                               FILED IN THE
                                                                      UNITED STATES DISTRICT COURT
Anthony Williams
                                                                           DISTRICT OF HAWAII
Private Attorney General
P.O. Box 30080
Honolulu, HI 96820
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                                                                      at     ^o'clock and    mm.   M
Counsel for the Defendant                                                   SUE BEITIA, CLERK

UNITED STATES OF AMERICA                 CASE NO. 17-00101 LEK

V.



ANTHONY TROY WILLIAMS

                     PRIVATE ATTORNEY GENERAL Anthony Williams MOTION FOR JUDGMENT OF ACQUITTAL
          Case 1:17-cr-00101-LEK Document 903 Filed 02/18/20 Page 2 of 24                              PageID #: 7705

TRULINCS 05963122 - WILLIAMS, ANTHONY TROY - Unit: HON-D-B


FROM:05963122
TO:
SUBJECT: MOTION FOR JUDGMENT OF ACQUITTAL
DATE: 02/17/2020 09:21:37 AM

MOTION FOR JUDGMENT OF ACQUITTAL

Private Attorney General Anthony Williams, a servant of the Most High Yahweh Elohim Yahshua, submits this Motion For
Judgment of Acquittal pursuant to Rule 29. In support of this motion the undersigned state the following facts:

I. TESTIMONY OF GOVERNMENT WITNESSES

а. FBI Agent Megan Crawley

1. The government called Megan Crawley (hereinafter "Crawley"), an FBI Agent employed by the Honolulu field office. The
undersigned question Megan Crawley as to the source of the complaints against the undersigned that generated this bogus
complaint and indictment.

2. Crawley stated that she receive a call from a DFI Investigator but could not remember the name of the investigator that called
her and made the complaint.

3. The undersigned questioned Crawley regarding the names of the homeowners that the investigator stated made a complaint
against the undersigned and again Crawley could not state or recall any names of the homeowners who made a complaint.
4. The undersigned questioned Crawley was there an incident report generated from the call Crawley alleges was made by the
DFI investigator to Crawley regarding the complaints made by numerous consumers.

5. Crawley stated that she did not make a report of the alleged call from the DFI investigator.

б. The undersigned questioned Crawley whether the DFI mailed Crawley a complaint of any of the consumers and Crawley's
answer was no.


7. The undersigned questioned Crawley whether the DFI emailed Crawley a copy of the complaint of any consumers and
Crawley again answered no.

8. The undersigned questioned Crawley whether the DFI Investigator faxed Crawley a copy of the complaint of any consumers
and Crawley replied no.

9. The undersigned questioned Crawley and asked Crawley did any of the undersigned's clients call Crawley or Crawley's office
and make a complaint against the undersigned and Crawley responded no.

10. The undersigned questioned Crawley and asked did any of the undersigned's clients email Crawley or her office and make
a complaint and Crawley answered no.

11. The undersigned questioned Crawley and asked did any of the undersigned's clients visit Crawley's office and make a
complaint and Crawley again answered no.

12. The undersigned questioned Crawley and asked Crawley did any of the undersigned's clients call Crawley to come to their
home to make a complaint and Crawley answered no.

13. The undersigned questioned Crawley and asked Crawley did any of the clients homes that she visited state to Crawley that
the undersigned scammed them or defrauded them and Crawley's answer was no not In those terms.

14. The undersigned questioned Crawley as to how the undersigned's clients made a complaint and Crawley couldn't state
what the clients said that could be construed in terms comparable to them stating that they had been scammed or defrauded.

15. Crawley testified that she followed the undersigned to the airport and took a picture of the undersigned with his badge,
handcuffs and ID on waiting to board his plane.
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TRULINCS 05963122 - WILLIAMS, ANTHONY TROY - Unit: HON-D-B


16. Crawley further testified that the undersigned's badge, handcuffs and ID was fake.

17. The undersigned questioned Crawley and asked Crawley if the badge, ID and handcuffs were fake, why didn't Crawley
arrest the undersigned for being in possession of a fake badge, ID and handcuffs and Crawley replied that she was only there
for surveillance.

18. The undersigned questioned Crawley has the FBI ever charged the undersigned for carrying, possessing or presenting a
fake ID and badge and Crawley answered no.

19. The undersigned questioned Crawley regarding the search warrant she obtained which included the offenses of bank fraud
and money laundering and Crawley stated that she only does the investigation and that charges are brought by the US
Attomey's office and not their office.

20. The undersigned questioned Crawley as to whether she found evidence of bank fraud and money laundering and Crawley
avoided the question by repeating her previous answer that she is no responsible for bringing charges and that charges are
brought by the US Attorney's office.

21. None of Crawley's testimony offered any sufficient proof of mail fraud or wire fraud that was committed by the undersigned.
22. Crawley presented no documented evidence of mail fraud or wire fraud.

23. Crawley's testimony was beneficial to the undersigned's innocence as her testimony revealed that no clients made a
complaint against the undersigned and that her office NEVER received any complaints from the DCCA or clients regarding the
undersigned committing fraud against them.

24. Crawley's testimony was extremely damaging to the government's case and proved that the govemment in fact had no legal
basis to file these bogus charges against the undersigned.

b. FBI Agent Bryce Oleski

25. The govemment called FBI Agent Bryce Oleski (hereinafter "Oleski")from the Washington, D.C. office to offer testimony
against the undersigned.

26. Oleski testified that he investigated the undersigned's office in Washington, D.C. and stated that the address used in the
undersigned's mortgage was not an address that was used by the undersigned to make it appear that the undersigned had a
bogus address on the mortgage document.

27. Oleski testified that he interviewed the owner of the office space that was the address on the undersigned's mortgage
document and that the owner Dorita Dixon (hereinafter "Dixon")stated that she didn't know no person named Anthony Williams
and never had any contact with a person named Anthony Williams.

28. Upon cross examination the undersigned questioned Oleski regarding his statement that Dixon stated that she didn't know
the undersigned and Oleski confirmed that this is what Dixon had told her.

29. The undersigned called for the government's exhibit      and questioned Oleski regarding the exhibit.
30. The undersigned questioned Oleski does he recognize the type of document that was put before him and Oleski testified
that it was a money gram.

31. The undersigned questioned Oleski whose name was listed as the sender and Oleski answered Anthony Williams.
32. The undersigned questioned Oleski whose name was listed as the recipient and Oleski answered Dorita Dixon.
33. The undersigned questioned Oleski what city and state did Dixon receive the money gram at and Oleski answered
Washington, D.C.

34. The undersigned questioned Oleski what was the phone number listed as the recipient's phone number and Oleski
answered (202)xxx-xxxx.
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35. The undersigned questioned Oleski was 202 a normai prefix for the Washington, D.C. area and Oleski answered yes.
36. The undersigned then questioned Oleski as to the significance of the money gram receipt and asked Oleski does that prove
that Dixon does actually know the undersigned and Oieski testified that someone couid have presented fake ID and could have
been someone else other than Dixon.

37. The undersigned then questioned Oleski has he ever sent a money gram and Oieski answered no.

38. The undersigned then questioned Oleski has he ever sent money via western union and he answered yes.

39. The undersigned then questioned Oleski whether he understood that in order to send or receive funds via money gram or
western union that one would have to present VALID identification in order to make those transactions and Oleski testified yes.
40. The undersigned then questioned Oleski as to whether he understood that the address was just a mailing address and not
the actual physical location of the office and Oleski stated no.

41. The undersigned then questioned Oleski was it against the law to have a different mailing address than your actual
business location address and Oleski answered no.

42. The undersigned then questioned Oleski as to whether he knew that one could get a physical mailing address from UPS to
have packages sent but the address not be the physical location of your office and Oleski testified that he didn't know that UPS
had provided any type of service of that nature.

43. The undersigned then questioned Oieski did his investigation reveal that the undersigned has P.O. Boxes as mailing
addresses for his offices in the other states and not the physical address and he answered no.

44. The undersigned then questioned Oleski did he locate the physical address in Washington, D.C. and interview any of the
undersigned's employees and Oleski answered no.

45. The government on redirect questioned Oleski was it possible that Dixon lied to him about not knowing the undersigned and
Oleski answered yes.

46. Oleski's testimony did not offer any sufficient proof of any of the offenses alleged in the indictment neither did Oleski's
testimony even allege that the undersigned had committed a federal crime.

47. Oleski's testimony was damaging to the government's position and beneficial in proving the undersigned's innocence,
c. FBI Agent Joseph Lavelle

48. The govemment called Joseph Lavelle (hereinafter "Laveiie"), a FBI Agent employed by the Miami, Florida field office and
questioned Laveiie regarding the undersigned's office and business dealings in the State of Florida.
49. The govemment questioned Lavelle regarding the arrest of the undersigned at the Fort Lauderdale airport when the
undersigned arrived from Hawaii and Laveiie stated he was present during the arrest but did not participate in the arrest.
50. The govemment questioned Lavelle regarding the undersigned's badge, ID and handcuffs that the undersigned was
wearing when the undersigned deboarded the plane and was arrested.

51. Lavelle testified that the undersigned's badge, handcuffs and ID was confiscated by the Broward Sheriffs office.
52. Laveiie testified that in his opinion that the undersigned's badge, ID and handcuffs were fake and not legitimate.
53. On cross examination the undersigned questioned Lavelle as to whether the undersigned was charged by the FBI with
carrying, possessing or presenting a fake badge or ID and Laveiie answered no.

54. The undersigned questioned Laveiie as to why if the badge and ID was fake, why did his FBI office allow the undersigned
entrance to their building on multiple occasions with the same ID and badge and Lavelle answered that the agents who allowed
the undersigned entrance didn't know that the iD and badge was fake.
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55. The undersigned then questioned Lavelle that isn't it FBI protocoi and poiicy to VERiFY all identification presented before
one is granted entrance into their federal building and Lavelle answered yes.

56. The undersigned then questioned Lavelle how is it that if the undersigned has been granted entrance into multiple FBI
offices in multipie states with this ID and badge, then the ID and badge is valid and not fake and Lavelle answered he still felt
the ID and badge was fake.

57. The undersigned then questioned Lavelle as to what the FBI had the undersigned under investigation for in Florida and
Lavelle answered for Mortgage Fraud, Bank Fraud and Money Laundering.

58. The undersigned then questioned Lavelle did his office deciine prosecution and Lavelle stated yes his office declined
prosecution.

59. The undersigned then showed Lavelle the government's exhibit which was a FBi report from a supervisor stating that their
office had declined prosecution.

60. The undersigned questioned Lavelle did he recognized this supervisor and Lavelle affirmed.

61. The undersigned questioned Lavelle as to whether this was his direct supervisor and Lavelie denied this was his direct
supervisor but was the supervisor over the mortgage fraud unit.

62. The undersigned then questioned Laveile did he investigate that the undersigned had offices in multipie states and Lavelle
confirmed that he did investigate and verify that the undersigned had offices in several other states.

63. The undersigned then questioned Lavelle did he coordinate with other FBi offices to investigate the undersigned in other
states and Lavelle affirmed.

64. The undersigned then questioned Lavelie as to whether any of the other FBI offices ever filed any charges against the
undersigned in any of the other states and Lavelle answered no.

65.The undersigned then questioned Lavelle as to whether he knew that the undersigned had Caucasian and Asian employees
in other states and Lavelle answered yes.

66. The undersigned then questioned Lavelle whether they investigated, arrested or charged any of the undersigned's white or
Asian employees in any of the other states for running the same business and Lavelle answered no.
67. The undersigned questioned Lavelle as to whether any of the clients in Fiorida made a complaint against the undersigned
and Lavelle answered no.

68. Lavelle's testimony did not offer any sufficient proof of any of the offenses alleged in the indictment neither did Lave
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FROM:05963122
TO:
SUBJECT: ACQUITTAL MOTION PAGE 2
DATE: 02/17/2020 09:20:52 AM

68. Lavelle stated that the basis of the FBI putting the undersigned under investigation was because of a statement that the
undersigned made at a seminar in Ventura, Gaiifomia wherein the undersigned quoted multiple U.S. Supreme Court cases that
stated if an officer tries to iiiegaiiy and unlawfully arrest a citizen that the citizen has the right to resist that arrest even up to the
point of taking that arresting officers life.

69. Laveiie stated that the business conduct of the undersigned was not the reason that the undersigned was placed under
investigation.

70. The undersigned questioned Laveiie as to whether the FBI had the undersigned on the terrorist watch list and Laveiie
confirmed that they did.

71. The undersigned then questioned Laveiie as to why the undersigned was placed on the terrorist watch list and Laveiie's
response was because of what the undersigned stated at the seminar.

72. The undersigned questioned Laveiie as to whether the undersigned has any violence or violent charges in his FBI file and
Laveiie confirmed that there was not.

73. The undersigned questioned Laveiie as to how the undersigned would be deemed a possible terrorist when the
undersigned does not have a violent history and Laveiie stated that it was strictly because of the statement made at the seminar
in Ventura California.

74. The undersigned presented the govemment's exhibit which showed parts of the FBI profile of the undersigned and Laveiie
confirmed that it was a report that the FBI relies on when identifying subjects.

75. Laveiie verified that the undersigned was on the DO NOT DETAIN DO NOT ARREST list and verified that the statement and
number that is on the undersigned's RAG ID is the same that is in the report.

76. The undersigned then questioned Laveiie did he call the Nashville Police department to ask why they were the ones who
told the undersigned how to obtain his Sovereign Peace Officer(SPO)badge and Laveiie answered no.
77. The undersigned questioned Laveiie whether he called the law enforcement agency that created the SPO badge and sent
it to me and Laveiie answered no.

78. The undersigned questioned Laveiie did Broward County Sheriffs office charge the undersign with impersonating a police
officer, carrying a fake badge, ID and handcuffs and Laveiie answered no.

79. The undersigned questioned Laveiie was it a crime for a citizen to have and carry their own handcuffs and Laveiie stated he
didn't know of any law against it.

80. Laveiie's testimony did not offer any sufficient proof of any of the offenses alleged in the indictment neither did Laveiie's
testimony allege that any federal crime had been committed.
81. Laveiie's testimony like the other two FBI agents that was solicited by the govemment predominantly focused on the Private
Attorney General identification Card, badge and handcuffs of the undersigned and how in their opinion they were fake ID's and
badges and not authorized to be possessed by the undersigned despite the fact that neither agent from any office ever filed any
charges for having a fake ID or badge and neither is the ID or badge listed as one of the counts in the indictment neither is the
ID or badge even mentioned in the indictment, yet the government chose to focus so much time on trying to discredit the validity
of the ID and badge which has absolutely nothing to do with the offenses charged in the indictment.
82. The solicitation of the erroneous opinions of FBI agents by the government attorneys was done to confuse the jury and the
issues and is the exemplification of the definition of a what pettifoggers are and those who engage in pettifoggery.
D. FBI Agent Kievansky
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83. The government called Agent Klevansky who is suppose to be an alleged expert in the mortgage industry, the Uniform
Commercial Code (hereinafter "UCC")and how the mortgage industry work.

84. Before Klevansky could testify the undersigned had to question Klevansky to confirm that in fact he is an expert in the field
he was testifying to.

85. The undersigned questioned Klevansky as to what does UCC 1-103.6 states and Klevansky did not know.

86. The undersigned questioned Klevansky as to what does UCC 1-308 states and Klevansky again did not know.

87. The undersigned questioned Klevansky as to what does UCC 9-311 states and Klevansky again stated he didn't know.
88. The undersigned then questioned Klevansky as to what section of the UCC dealt with negotiable instruments and
Klevansky stated that he would have to have the code in front of him to search.

89. The undersigned then questioned Klevansky regarding the bankruptcy of the United States that took place in 1933 and
Klevansky answered that he didn't have any knowledge that the U.S. had ever declared bankruptcy.

90. Based upon Klevansky's inability to answer simple questions that even a novice would know,the undersigned moved the
court to strike Klevansky as an expert witness and that he could only testify as a lay witness.

91. The court disregarded Klevansky's obvious lack of knowledge and expertise in the field he was testifying in and deemed him
an expert.

92. The govemment questioned Klevansky regarding the requirement in order to practice law as it is understood by him and
other members of the bar and Klevansky testified that one would have to go to law school, pass the bar examination and then
be admitted to practice by the Supreme Court in order to practice law.

93. Upon cross examination the undersigned questioned Klevansky as to whether he knew what the First Judiciary Act of 1789
section 35 stated and Klevansky stated that he didn't know.

94. The undersigned questioned Klevansky as to whether he has read any of the U.S. Supreme Court rulings that state laymen
can assist others in court without being members of the bar association and without being charged with the unauthorized
practice of law and Klevansky stated that he has never heard nor researched those cases.

95. The undersigned questioned Klevansky that if he had never researched or ever heard of those cases how could he
determine that someone could not assist others in court without being a member of the bar and Klevansky stated that he only
knew that in order to practice law one would have to be a member of the bar.

96. Klevansky's testimony solicited by the government was unremarkable and quite tedious which at times during his testimony
several jurors were falling asleep because of the monotone of Klevansky's voice.

97. Klevansky testified to the normal routine of how mortgages are executed by mortgage companies and the practice of the
industry and that the undersigned's mortgage and language he didn't recognize and deemed it to be fraudulent and that the
UCC's filed had no legal effect.

98. Upon cross examination the undersigned questioned Klevansky as to whether he knew of ANY law that a homeowner
couldn't file a UCC lien on their own property with them being the secured party creditor and Klevansky answered no he is not
aware of any law.

99. The undersigned then questioned Klevansky as to whether he knew of ANY law that a homeowner couldn't file a mortgage
on their own property with them being the beneficiary and secured party creditor and Klevansky answered no he is not aware of
any law.

100. The undersigned questioned Klevansky as to whether he had ever seen a promissory note with the words stamped on it
"PAY TO THE ORDER OF" to the bank and Klevansky stated he had never seen one.

101. The undersigned called for one of the government's exhibits and showed Klevansky a promissory note with the "PAY TO
THE ORDER OF"stamp on it and Klevansky stated he had never seen the stamp on the note.
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102. Klevansky's explanation was that the stamp was merely as assignment by the bank to another bank but when the
undersigned brought it to Klevansky's attention that the stamp was paid to the order of the bank that issued the note, Kievansky
had no explanation for this.

103. The undersigned questioned Kievansky how long is a normal residential mortgage term and Kievansky stated normally 30
years and in a few cases 15 years.

104. The undersigned questioned Kievansky had he ever seen a mortgage taken out and satisfied and released in 1 month,3
months,6 months, 1 year, 3 years or 5 years and Kievansky stated that he had never seen a mortgage paid off or satisfied in
the short amount of time.

105. Klevansky's testimony did not offer any sufficient proof of any of the alleged offenses in the indictment neither did
Klevansky's testimony allege that any federal crime had been committed or that he had any first hand knowledge of any of the
events alleged in the indictment.

106. Klevansky's whole testimony was filled with his own opinions not supported by law or facts and fell far short of presenting
anything that couid be construed as evidence that the undersigned had committed a federal offense. Klevansky's testimony was
solicited for the sole purpose of the government to confuse the jury with issues not relevant to the charges in the indictment and
to assert the government's position that one needs to be a member of the bar to practice law.
107. The undersigned is not being charged with the unlicensed practice of law(UPL)and the URL is not a charge in the
indictment because it is not a federal offense but a state offense and civil in nature.

e. OCR Empioyee Bump

108. The government called an employee of the Office of Consumer Protection(OCR)Bump and questioned Bump regarding
the licensing of businesses in Hawaii with their office.

109. Bump testified that in order to be a mortgage loan originator or servicer, one who have to obtain a license through their
office and that the undersigned's business Mortgage Enterprise Investments(MEI)did not possess such a license.
110. On cross examination the undersigned questioned Bump regarding the definitions in the Hawaii Revised Statutes
regarding what a mortgage loan originator is or servicer and that was there any language in the statute that identified mortgage
and foreclosure assistance and Bump testified that it did not.

111. The undersigned questioned Bump whether there was a statute for mortgage and foreclosure assistance and Bump replied
that there was not.

112. The undersigned questioned Bump regarding the email communication that the undersigned had with the OCR before the
undersigned registered his business and Bump stated that they weren't the one that the undersigned corresponded with.
113. Bump went on to testify that mortgage ioan originators or companies that loan money must be licensed under the
mortgage servicing statute.

114. The undersigned showed that there was no statute that governed mortgage and foreclosure assistance that would have
mandated the undersigned to obtain a license for because there is no license for what the undersigned's company does.
115. Bump did not offer any sufficient proof of any of the alleged offenses in the indictment neither did Bump's testimony allege
that a federal crime had been committed.

116.The undersigned is not being charged with having an unlicensed mortgage company which is a state offense under the
Hawaii Revised Statute but the undersigned is being charged two federal offenses of mail and wire fraud.
117. Nothing in Bump's testimony offered any proof or evidence of the counts charged in the indictment and therefore Bump's
testimony was damaging to the government's position but was beneficiai to the defense in that no federai crime had been
committed and Bump's testimony did not provide any evidence to the contrary.

f. HAWAil STATE BAR ASSOCIATION EMRLOYEE MAU-SHIMIZU
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118. The government called an employee of the Hawaii State Bar Association Ms. Mau-Shimizu (hereinafter "Mau")and Mau
testified that the undersigned was not listed as an active member of the bar association with a license to practice law.
119. Mau testified that the actions of the undersigned would constitute the unlicensed practice of law.

120. Upon cross examination the undersigned questioned Mau if she took Constitutionai law in law school and Mau said yes
about 40 years ago.

121. The undersigned questioned Mau as to whether Mau had an oath of office to uphoid the U.S. Constitution and Mau
affirmed.

122. The undersigned questioned Mau as to what does Articie Vi in the constitution state and Mau did not know what Article VI
of the constitution stated.

123. The undersigned questioned Mau as to how she couid uphold something that she didn't know and Mau responded that its
been 40 years since she studied the constitution in law school.

124. The undersigned questioned Mau whether attorneys have to have continuous education and Mau stated that it was not
required.

125. The undersigned questioned Mau whether there was a provision in the constitution that created the bar and Mau repiied
no.
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FROM:05963122
TO:
SUBJECT: ACQUITTAL MOTION PART 3
DATE:02/17/2020 09:20:17 AM

126. The undersigned questioned Mau whether there was an article, amendment or provision in the constitution that prevented
anyone who was not a member of the bar from assisting others in court and Mau replied no.

127. The undersigned questioned Mau whether she was familiar with the First Judiciary Act of 1789 section 35 and Mau stated
she was not familiar.

128. The undersigned questioned Mau whether she was familiar with the U.S. Supreme Court rulings which stated that laymen
can assist others in court without being members of the bar and without being charged with unauthorized practice of law.
129. The undersigned questioned Mau that if she researched those cases and found out those cases stated such would she
agree with the U.S. Supreme Court rulings and Mau replied yes.

130. The undersigned questioned Mau was there any provision in the constitution that even mentions the word attorney at law
and Mau confirmed that there is not.

131. The undersigned questioned Mau whether the HSBA was a state govemmental agency and Mau confirmed that it was not
but was a professional non-profit organization.

132. The undersigned questioned Mau as to whether the HSBA was a PRIVATE CORPORATION and Mau gave the same
answer that it was a professional non-profit organization.

133. The undersigned questioned Mau again the same question and notified Mau that it is a yes or no question and Kobayashi
interjected and stated that Mau already answered the question when she did not because the undersigned asked a YES or NO
question and the court prevented Mau from properly answering the question.

134. The undersigned begin to further question Mau when Kobayashi intervened again and stated that the undersigned could
not question Mau with the line of questioning that the undersigned began to question Mau with.

130. The government solicited Mau's testimony for the sole purpose to present their narrative of the undersigned not being a
member of the bar association and therefore not authorized to help clients with their foreclosures according to their own
erroneous concept.

131. Nothing in Mau's testimony offered any evidence or sufficient proof of any of the alleged offenses in the indictment neither
did Mau's testimony alleged that a federal crime had been committed.

132. Mau's testimony was irrelevant and immaterial to the charges in the indictment as the undersigned is not being charged
with the unlicensed practice of law and none of the counts in the indictment have anything to do with practicing law without
being a member of the bar association.

g. CENTRAL PACIFIC BANK EXECUTIVE MR. STANFORD

133. The government called an Executive from Central Pacific Bank(CPB), Mr. Stanford (hereinafter "Stanford") who is
allegedly an official of CPB that issued the alleged loan to one of the undersigned's client.

133. Stanford testified that the undersigned's client was current on their payment when they met the undersigned and that after
meeting the undersigned the payments to CPB stopped.

134. Stanford testified that CPB loan the undersigned's client $520,000 and was evidence by a mortgage and note signed by
the undersigned's client.

135. Stanford testified that the undersigned sent a letter to CPB's attorneys on behalf of the client but that the attorney's ignored
the undersigned's letter because the undersigned wasn't a member of the bar.

136. Upon cross examination the undersigned questioned Stanford as to whether he understood the legal rights of a power of
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attorney according to Hawaii Revised Statute 551D and Stanford stated that he understood the power of attorney.
137. The undersigned then questioned Stanford why that the power of attorney was not honored by the bank attorneys
according to the iaw and his response was that they oniy recognize iicensed attorneys which is contrary to the Power of
Attorney statute.

138. The undersigned then questioned Stanford regarding his statement that CPB loaned the undersigned's client $520,000.
139. The undersigned then questioned Stanford if he personaily saw that check for $520,000 that was allegedly used to finance
the loan to pay for the house and Stanford replied no.

140. The undersigned questioned Stanford if he personaliy saw a money order for $520,000 and he replied no.
141. The undersigned questioned Stanford if he personaliy saw a cashiers check for $520,000 and he again replied no.
142. The undersigned questioned Stanford if he couid provide the bank statement and ledger from CPB that shows they
deducted and debited $520,000 on the date of the alleged loan to the undersigned's client and Stanford replied no.
143. After this line of questioning Kobayashi intervened and prevented the undersigned from further embarrassing the bank
representative and exposing their fraud that they never ioan anyone a dime but use the homeowner's signature on the note to
create the funds to finance the loan.

144. The testimony of Stanford did not provide any evidence or sufficient proof of the alieged offenses in the indictment neither
did Stanford's testimony ailege that a federal crime had been committed.

145. Stanford's testimony was irrelevant and immaterial to the charges in the indictment as the undersigned is not being
charged with bank fraud, money laundering or mortgage fraud and none of the counts in the indictment have anything to do with
the way a ciient mortgage was drafted and fiied by the undersigned in order to protect their home from foreclosure and
fraudulent deceptive practices of the bank.

h. FBI ANALYST L. OTSUKA

146. The government called an employee of the FBI L. Otsuka (hereinafter "Otsuka") who was the analyzer of the
undersigned's bank accounts.

147. Otsuka testified that she analyzed approximately four(4) business bank accounts of the undersigned and testified that she
did a summary that showed how many checks with through those accounts and how much cash went through those accounts.
148. Otsuka testified that all the accounts she analyze that dealt with Hawaii clients had approximately $218,000 and that only
$25,000 was cash but wasn't reflected in her summary.

149. On cross examination the undersigned questioned Otsuka as to whether her analization revealed that anything in the bank
accounts were fraudulent or constituted a crime.

150. Otsuka testified that he job was not to determine whether there was anything fraudulent about the accounts but was to just
analyze the amount of transactions that went through the accounts, the amount of money and the amount of clients.
151. The testimony of Otsuka did not provide any evidence or sufficient proof of the alleged offenses in the indictment neither
did Otsuka's testimony allege that a federal crime had been committed.

152. Otsuka's testimony was irreievant and immaterial to the charges in the indictment as the undersigned is not being charged
with bank fraud or money laundering and none of the counts in the indictment have anything to do with the undersigned's
transactions in his business bank account.

il. THE ALLEGED VICTIMS AND FORMER EMPLOYEES

153. The government called eight(8)former clients of the undersigned and two former employees and asserted that the
undersigned defrauded homeowners out of their money with no services rendered.
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a. JULITA ASUNCION

154. The government called Julita Asuncion (hereinafter "Asuncion")to the stand and questioned her regarding her interactions
with the undersigned.

155. The government questioned Asuncion whether she saw the ID, badge and handcuffs of the undersigned and did that make
her feel more inclined to trust In the undersigned and Asuncion stated that it did.

156. The government questioned Asuncion whether if she had known that the undersigned was not a member of the bar would
she have signed up with the MEI program and Asuncion stated no.

157. The government presented the MEI application, mortgage and note and asked Asuncion if she recognized those
documents and she confirmed that she did.

158. The government asked Asuncion if the undersigned did anything for her and Asuncion stated that the undersigned didn't
do anything for her.

159. On cross examination the undersigned questioned Asuncion about the MEI application particularly the Foreclosure
Disclosure which specifically states that the guarantee is NOT for any clients who are in foreclosure or facing foreclosure and
that the undersigned's Common Law Office of America would do the best of their ability to protect their home.
160. Asuncion verified her signature on the Foreclosure Disclosure page and KNEW the terms and conditions of the contract.
161. Asuncion verified that she didn't make a payment for over a year because her paperwork wasn't properly completed
because the undersigned was unlawfully incarcerated from September 13, 2013 to June 27,2014.
162. After the undersigned won his case and returned to Hawaii the undersigned continued to execute his fiduciary duties to
Asuncion until the undersigned was again unlawfully incarcerated.

163. The undersigned questioned Asuncion did she make a complaint to the FBI against the undersigned and she replied no.
164. The undersigned questioned Asuncion did she make a complaint to the DCCA or OCP against the undersigned and she
again replied no.

165. The undersigned questioned Asuncion did she request a refund if she was not satisfied with the services of the
undersigned and she again replied no.

166. The undersigned questioned Asuncion did she call FBI Agent Megan Crawley to come to her home to make a complaint
against the undersigned and she replied no.

167. The undersigned questioned Asuncion did she make a complaint to the FBI or DCCA that the undersigned committed mail
or wire fraud against her or that the undersigned scammed or defrauded her and her answer was no.

168. The testimony of Asuncion did not provide any evidence or sufficient proof of the alleged offenses in the indictment neither
did Asuncion's testimony allege that a federal crime had been committed.

169. The government's attorney focused most of their questioning of Asuncion regarding the PAG ID card, SPG badge and
handcuffs and that the undersigned is not a member of the bar licensed to practice law in the State of Hawaii.
170. The undersigned is not being charged with unlicensed practice of law or impersonating a federal officer and therefore the
testimony that the govemment solicited from Asuncion is irrelevant, immaterial to the charges in the indictment and nowhere in
Asuncion's testimony did the govemment reveal how and in what manner, shape or form that the undersigned committed mail
and wire fraud against Asuncion.

171. Not one of the statements solicited by the government from Asuncion identified what the undersigned said to Asuncion
through the use of the wire or mail that was false, fraudulent or a misrepresentation.

b. LOREEN TROXEL
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172. The government called Loreen Troxel (hereinafter "Troxel") who testified that the undersigned did absolutely nothing for
her and that she only met the undersigned one time in 2013.

173. Troxel seem to be coached to make the statements that she made because she kept looking at the prosecutors table
before and after she would give an answer.

174. Troxel said that after 2013 she had no more contact or dealings with the undersigned.

175. The undersigned submitted numerous exhibits to show that Troxel was lying and that Troxel used the undersigned's
services in 2015.

176. The govemment used their same line of questioning with Troxel as they did with Asuncion and focused on the
undersigned's PAG ID card, SPO badge and handcuffs and asked Troxel if she knew that the undersigned was not a member of
the bar and not a "real attorney" would she have used the undersigned's services and Troxel replied no.

177. Upon cross examination the undersigned questioned Troxel if she remembered that the undersigned was unlawfully
Incarcerated by the FBI, State of Hawaii and State of Georgia in September 2013 and Troxel stated she couldn't recall.
178. The undersigned showed Troxel several exhibits that Troxel identified as documents drafted by the undersigned to help
fight Troxel's foreclosure.

179. Troxel admitted that Edna Franco had scammed her and that the undersigned had to take over the litigation and sue
Deutsche Bank for using fraudulent documents created by robo-signers to unlawfully foreclosure on Troxel's home.
180. Troxel stated that the undersigned did not explain the program to her at which time the undersigned questioned Troxel if
she remembered about what time she came to the undersigned's office.

181. Troxel remembered coming to the undersigned's office after 8 pm and remembered staying approximately 4 to 5 hours.
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FROM:05963122
TO:
SUBJECT: ACQUITTAL MOTION PART 4
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182. The undersigned asked Troxel what she and the undersigned were doing for 4 to 5 hours at the undersigned's office and
Troxel then admitted that she had a lot of questions and that the undersigned had to answer all of her questions and then the
undersigned questioned Troxel that if the undersigned answered all of her questions then the undersigned did in fact explain the
program to Troxel in which Troxel agreed.

183. Troxel's testimony did not offer any sufficient proof of any of the offenses alleged in the indictment neither did Troxel's
testimony allege that any federal crime had been committed against her.

184. Troxel's testimony was irrelevant and immaterial to the charges in the indictment as the undersigned is not being charged
with having a ID, badge and handcuffs that the government deem is fake (which they are not)and not being charged with
unlicensed practice of law as none of the counts in the indictment have anything to do with practicing law without a license or
carrying non-govemmental ID's, badges and handcuffs.

c. MARY JEAN CASTILLO

185. The government called Mary Jean Castillo (hereinafter "MJ")who was a former client and employee of the undersigned
and who was the subject of two of the counts in the indictment for wire fraud for sending two money grams to the undersigned's
mother but wasn't charged with the fraud although the undersigned's mother was.

186. MJ testified that the undersigned showed her documented proof that the program worked for clients in the mainland and
the reason that she decided to work for the undersigned.

187. MJ testified that she remembered when the undersigned was unlawfully incarcerated and had to keep the undersigned's
son for a little while until the undersigned's son could be sent back to his mother in the mainland.

188. MJ testified that she created documents to help streamline the process and testified of the numerous documents that had
to be sent to various governmental agencies.

189. MJ testified that when she questioned the undersigned why he sent copies of evei^hlng he did to the Dept. of Justice and
the FBI that the undersigned told her because the undersigned didn't have nothing to hide.
190. After the government questioned MJ whether she was more prone to believe the undersigned because of the ID, badge
and handcuffs, the undersigned asked MJ was the undersigned a man of integrity and MJ said yes.
191. The undersigned questioned MJ was the undersigned a man of high moral character and MJ stated yes.
192. The undersigned questioned MJ was the undersigned a very spiritual man and believed In the principles of the bible and
MJ answered yes.

193. The undersigned questioned MJ whether she thought that the undersigned was a fraud and was scamming people and MJ
replied no.

194. The funds that MJ sent to the undersigned's mother was lawfully money obtained from the services rendered by the
undersigned to numerous clients in Hawaii and there was nothing fraudulent or illegal about those funds.
195. The undersigned was not charged with bank fraud or money laundering and therefore the funds were not the subject of
any of the alleged counts in the indictment and therefore could not constitute wire fraud.

196. Sending money via money gram is not a federal crime and therefore there was crime committed when MJ sent the money
to the undersigned's mother.

197. MJ's testimony vindicated the undersigned as being a man of high integrity, honesty, moral character and spiritual
principles and not the type of man that would defraud innocent people out of their hard earned money.
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198. MJ verified that all employees had to sign an Attorney in fact Acceptance form that she signed which stated that they would
always act with integrity and not defraud Common Law Office of America(CLOA)or the American people.

199. Nothing in MJ's testimony offered any evidence or sufficient proof of the offenses alleged in the indictment neither did MJ's
testimony allege that a federal offense had been committed but that the undersigned Is a man of integrity and a man that fight
for the rights of the people.

d. MELVYN VENTURA

200. The government called Melvyn Ventura who is the subject of 16 of the counts the undersigned is being charged with in the
indictment.

201. The government intimidated Ventura into changing his position about what he felt about the banks when they intimidated
Ventura into meeting them and the FBI at the U.S. Attorneys office.

202. Before the Intimidation by the government Ventura was adamant about the govemment corruption and corruption of the
banks but after meeting with the prosecutors and FBI Ventura stated he felt guilty and that he signed his name on the mortgage
and that he had to pay it back.

203.The government questioned Ventura in the same manner they questioned the other clients focusing on the ID, badge and
handcuffs of the undersigned and the fact that the undersigned is not a member of the bar association and that the undersigned
was not authorized to assist him in fighting his foreclosure.

204. Upon cross examination the undersigned produced several affidavits signed by Ventura which stated that the undersigned
did not commit any crime against him and that the charges brought against the undersigned was retaliation against the
undersigned for exposing the corruption of the govemment and the banks.

205. The government objected to these affidavits being entered in as evidence but Kobayashi correctly overruled their objection
and allowed the affidavits to come into evidence.

206. The undersigned question Ventura as to the motions that the undersigned would file on his behalf and Ventura verified that
the motions were effective and that the bank attorneys could never answer the motions that the undersigned filed.

207. Despite the government's attempt to slander the undersigned and make the undersigned look like a bad person, the
undersigned asked Ventura did he feel the undersigned was a good man and Ventura answered yes.
208. The undersigned asked Ventura was the undersigned a man of integrity and Ventura answered yes.
209. The undersigned asked Ventura was the undersigned a man of faith and spiritual principles and Ventura answered yes.
210.The undersigned asked Ventura did he trust the undersigned and Ventura again answered yes.

211. The affidavit that Ventura gave stated that none of the payments were fraudulent that were sent to the undersigned and
that the payments were for the undersigned fighting his foreclosure and keeping him in his home.

212. The Affidavit aiso stated that there was nothing fraudulent about the email communications between the undersigned and
Ventura.

213. Sixteen (16)of the mail and wire fraud counts deal specifically with Ventura who has already provided multiple affidavits
stating that he was never lied to nor defrauded yet the government maintains that the undersigned defrauded this client when
this client has given several swom statements that the undersigned did nothing wrong to him but has done a great service to
him and others.

214. Ventura's testimony directly contradicts and contravenes the contents of the indictment and dispute the assertion of the
govemment that the undersigned committed mail and wire fraud against Ventura.

215. Ventura's testimony establishes and verifies the undersigned's innocence and shows that the undersigned always acted
with honesty and integrity and never did anything to defraud or deceive any clients.
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216. Based on Ventura's testimony the 16 counts dealing with Ventura must be dismissed because Ventura himself swore that
the undersigned committed no crime against him and put it in an affidavit form and then testified in court that the undersigned is
a man of integrity, honesty and high moral character which is the opposite of what the government is alleging.

e. EVELYN SUBIA

217. The government called Evelyn Subia (hereinafter "Subia") who was a client of the undersigned.
218. Subia came to court and had an interpreter as if she couldn't speak or understand English.

219. Subia did not have to have an interpreter when she came to the undersigned's office and signed up for the services of the
undersigned.

220. Subia stated she had a mortgage with American Servicing Company and that she wasn't in foreclosure when she met the
undersigned.

221. The undersigned presented an exhibit which showed that Subia had been in default since 2011 and therefore was already
in foreclosure when she applied for the services of the undersigned.

222. Kobayashi inteijected and argued with the undersigned and stated that Subia being in default didn't mean that she was in
foreclosure which was improper for a judge to interject and make statements that were not true.

223. The undersigned then questioned Subia did she pay the over $8,800 that she was in default at the time of the default letter
to prevent from going into foreclosure and Subia verified that she had not paid the default and therefore went into foreclosure.
224. The undersigned then questioned Subia does she go to church and Subia replied through the interpreter yes.

225. The undersigned then questioned Subia was the church a Filipino church and Subia answered through the interpreter that
it is an English church.

226. The undersigned questioned Subia did she and her husband sign the application along with the undersigned and she
answered yes.

227. The undersigned showed Subia an exhibit of the Foreclosure Disclosure that she and her husband signed which stated
they didn't qualify for the guarantee because they were in Foreclosure but that the undersigned and CLOA would do the best of
our ability to fight their foreclosure and keep them in their home.

228. The undersigned questioned Subia about how many payments they made to MEI and Subia stated about 4 or 5 payments.
229. The undersigned questioned Subia did she remember that the undersigned was unlawfully incarcerated in September
2013 and could no longer assist Subia and Subia stated she couldn't remember.

230. The undersigned showed Subia a letter sent to Subia from MEI stating that MEI was sending back Subia's December and
January payments because the undersigned was incarcerated and couldn't fulfill his fiduciary duties and Subia stated that she
remembered the letter and the letter was entered in as evidence.

231. The undersigned also showed Subia a copy of the check that was sent back to Subia and was never deposited into MEI's
account because the undersigned instructed his mother to send back all payments that were being mailed in and to refund any
and all payments to clients who requests a refund.

232. The undersigned has a copy of the undersigned's business account to show that the check was never deposited into the
account of MEI but was in fact sent back to Subia.

233. The undersigned presented numerous exhibits of the work the undersigned had done for Subia after the undersigned won
his case and was released from jail.

234. Four of the mail fraud counts were payments sent but Subia for foreclosure assistance and does not constitute mail fraud.
235. As with the other clients the govemment focused on the ID, badge and handcuffs of the undersigned and the fact that the
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undersigned is not a bar member but did not outline how and why the mailed payments constitute fraud for services rendered.
236. The Subia's are still in their home because of the work done by the undersigned.

237. Subia's testimony did not offer any evidence or sufficient proof of the alleged offenses in the indictment neither did Subia's
testimony allege any federal crime was committed.

f. MACRINA PILLOS

238. The government called Macrina Pillos (hereinafter "Pillos") who was the victim of Henry Malinay and Anabel Cabebe.
239. The government solicited the same testimony from Pillos as they did the other witnesses by focusing on the undersigned's
ID, badge and handcuffs and that the undersigned is not a member of the bar.

240. Pillos put on a performance worthy of an Oscar or an Academy Award by crying crocodile tears to play on the sympathy of
the jury. Yet outside the presence of the jury Pillos was smiling and nodding at the prosecutors as to seek their approval for her
performance.

241. Pillos testified that she met Anabel Cabebe (hereinafter "Cabebe")in Maul and paid Cabebe $1500 cash without receiving
a receipt.

242. The undersigned questioned Pillos as to why she didn't receive a receipt and she replied that Cabebe stated she couldn't
give her a receipt.

243. Pillos stated that Cabebe stated that she still worked for the undersigned.

244. Pillos stated that Cabebe prepared and filed her UCC on November 4-2013 while the undersigned was incarcerated at
Cahu Community Correctional Center awaiting extradition to Georgia.
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FROM:05963122
TO:
SUBJECT: ACQUITTAL MOTION PART 5
DATE: 02/17/2020 09:16:29 AM


245. Pillos testified that Cabebe and Maiinay told her to not put any dates on the applications that she signed.

246. Piiios testified that Cabebe stated that she wouid reiay any message she had to the undersigned.

247. The undersigned presented government exhibit 807 which was an appiication filied out be Pillos given to her by Cabebe
with Piiios signature but no signature for Cabebe or any representative.

248. The undersigned questioned Pillos about the DCCA letter that she received on May 7, 2015 and Pillos confirmed that she
remembered the ietter.

249. The undersigned questioned Pillos that if she thought the service was a scam why did she have the mortgage fiied almost
a month after she was contacted that the service Cabebe was offering was a scam and Pillos stated that she trusted Cabebe to
help her.

250. The undersigned questioned Pillos as to why she never called the undersigned if she had doubts or questions and Pillos
stated that she didn't have the undersigned's number and that Cabebe stated that she would relay all messages to the
undersigned.

251. The undersigned brought Pillos attention to the cover page of the MEI application wherein every customer must sign and
above the signature is the toll free number and extension of the undersigned and Pillos verified her signature on the document.
252. The undersigned questioned Pillos as to why she never called the undersigned to get clarity if she had any doubt and
Pillos stated she don't remember the number being on the page that she signed.

253. The undersigned questioned Pillos if she iearned to speak, write and read Engiish in school in the Phiiippians and Pillos
confirmed that she did.

254. Piiios confirmed that all Filipino chiidren must ieam to read, write and speak English in grade school which shows that
Subia's stunt of bringing in an interpreter was for a show to make it appear that she didn't understand English and was taken
advantage of by the undersigned when in fact she couid speak, read and write English very well.
253. Pillos' testimony did not offer any evidence of sufficient proof of any of the offenses alleged in the indictment except that
the crimes were committed by Cabebe and Maiinay and not the undersigned.

254. Pillos testimony revealed that she was scammed by Cabebe and Maiinay who lied to Pillos by telling Pillos that she
worked for the undersigned when they had formed their own company Mortgage Enterprise(ME)to make it appear that it was
the company of the undersigned.

g. MARY LAFORTEZA

255. The govemment cailed Mary Laforteza (hereinafter "Laforteza") who had signed up for the services of the undersigned in
May of 2013.

256. The government solicited the same testimony as they did the other clients by focusing yet again on the ID, badge and
handcuffs of the undersigned and the fact the undersigned is not a bar member.

257. Laforteza testified that if she knew the undersigned was not a member of the bar she would not have signed up for the
service.

258. Laforteza KNEW that the undersigned was not a member of the bar because the undersigned toid Laforteza and showed
Laforteza the undersigned's website which clearly states that the undersigned is not an attomey at law and explains what a
Private Attomey General is and the difference between the two.

259. Upon cross examination Laforteza testified that Cabebe forged documents with her name on it and that Cabebe did not
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notarize any documents in Laforteza's presence but notarized the documents without Laforteza's knowledge.

260. The undersigned questioned Laforteza did she make a complaint to the DCCA against the undersigned and Laforteza
replied no.

261. The undersigned questioned Laforteza did she make a complaint to the FBI against the undersigned and Laforteza replied
no.


262. The undersigned questioned Laforteza did she make a complaint to the OCP against the undersigned and Laforteza
replied no.

263. Laforteza testified that she was evicted out of her home and it was a traumatic experience.

264. The undersigned questioned Laforteza what were the men wearing that evicted her out of her home and she couldn't
remember.

265. The undersigned questioned Laforteza were the men in police uniforms or sheriff uniforms and Laforteza couldn't
remember.

266. The undersigned questioned Laforteza what kind of cars did the officers have and Laforteza stated she couldn't remember.
267. The undersigned questioned Laforteza that if it was a traumatic experience that is something you don't forget and how is it
that she can't remember the incident and Laforteza maintained she couldn't remember.

268. The undersigned showed Laforteza by exhibits the work that was done for Laforteza that Laforteza and her husband
signed yet Laforteza stated she couldn't remember signing the documents.

269. The undersigned showed Laforteza exhibits that contained emails from Laforteza to the undersigned yet Laforteza don't
remember emailing the undersigned.

270. The undersigned questioned Laforteza regarding the attorney she hired named Keoni Agard and Laforteza remembers
hiring the attorney.

271. The undersigned questioned whether the attorney helped Laforteza and Laforteza stated no.

272. The undersigned showed Laforteza a government exhibit where Laforteza and her husband requested that attorney Agard
return their money because he didn't do anything to help them with their foreclosure.

273. The undersigned questioned Laforteza about how much she paid this attorney and Laforteza stated that it was more than
$2,000 that she paid with the attorney doing absolutely nothing.

274. The undersigned questioned Laforteza did she or her husband ever request a refund from the undersigned and Laforteza
responded no.

275. Laforteza stated she only make 4 or 5 payments to the undersigned which totaled approximately $5,200 dollars.
276. Laforteza knew the payments were to help her and her husband fight their foreclosure.

277. The email that the undersigned is being charged with was regarding the Laforteza's dissatisfaction with the attorney that
paid and the undersigned notified the Laforteza's that the undersigned could not assist them unless the attorney of record was
removed which is the absolute truth according to the law and the undersigned sent the Laforteza's a link to look up to show that
attomeys at law first duty is to the courts and not to the client which is the ABSOLUTE TRUTH!

278. Laforteza's testimony did not offer any evidence or sufficient proof of any of the alleged offenses In the indictment neither
did it provide any evidence of a federal offense being committed.

279. The fact that the undersigned is not a member of the bar is not a federal offense and does not constitute a federal crime,
h. NELSON MADAMBA
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280. The government called Nelson Madamba (hereinafter "Madamba")to testify that the undersigned told him that the
undersigned was a federal officer.

281. The government solicited testimony from Madamba as they did the other witnesses focusing on the ID, badge and
handcuffs of the undersigned and that these items some how made Madamba trust the undersigned more than he would have if
he had known the undersigned was not a member of the bar.

282. Madamba admitted that he had seen some videos of the undersigned and that fact alone proves that Madamba KNEW the
undersigned was not a member of the bar because the undersigned states this in the videos and notifies every client that he
meets that he is not a member of the bar and neither does the undersigned EVER WANT TO BE!!

283. The undersigned questioned Madamba whether he had done an affidavit swearing to the fact that it was Edna Franco,
Henry Malinay and Rowena Valdez that scammed him and not the undersigned.

284. Madamba stated that he didn't remember doing and affidavit and the undersigned presented an exhibit which was the
affidavit signed by Madamba.

285. The undersigned asked Madamba to verify his signature and Madamba verified that it was his signature.
286. Madamba then states that the notary did not notarize the document in his presence and that the document was a forgery
and the notary did not notarize the document in his presence.

287. Madamba's testimony did not offer any evidence or sufficient proof of any of the alleged offenses in the indictment neither
did Madamba's testimony reveal any evidence that a federal crime had been committed.
288. None of the counts in the indictment deal with any transactions linked to Madamba.

i. MARIETHEZ MADAMBA

289. The government called Mariethez Madamba (hereinafter "Mariethez") and Mariethez testified that the undersigned told her
that he was an attomey at law.

290. The government solicited testimony from Mariethez as other witnesses focusing on the undersigned's ID, badge and
handcuffs and the fact that the undersigned is not a member of the bar.

291. The undersigned questioned Mariethez as to whether she had ever visited the prosecutors office and spoke with the
prosecutors and Mariethez answered no.

292. The undersigned questioned Mariethez that if she didn't visit the prosecutors office how did she know to show up for court
and she repiied that she got a letter in the mail.

293. Kenneth Sorenson then requested a side bar with the court and notified the judge and the undersigned that this witness
had in fact visited their office twice and wanted to notify the court.

294. After the side bar conversation the undersigned continued his questioning and notified Madamba that the prosecutor just
stated that she had visited their office and was she lying or was the prosecutors lying.

295. After confronting Mariethez with her lie she now admits that she has been to the prosecutors office to talk to them before
the trial.

296. The undersigned questioned Mariethez as to whether she signed an affidavit which states that Edna Franco, Henry
Malinay and Rowena Valdez scammed her and Mariethez denied that she had signed such an affidavit.
297. The undersigned presented a sworn affidavit signed by Mariethez as an exhibit and asked Mariethez to verify her signature
in which she verified that it was her signature.

298. Mariethez stated that she didn't remember the affidavit and that the notary stamp was not on the affidavit and that the
notary was done without her knowledge.
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299. The undersigned questioned Mariethez whether she was still in her home and Mariethez testified that she is in fact still in
her home.

300. The undersigned questioned Mariethez did she remember when her home went up for auction and the undersigned filed
docurnents and instructed her what to do in order to stop the auction and Mariethez vaguely remembers but does remember
that the auction was canceled.

301. Mariethez's testimony did not offer any evidence or sufficient proof of the alleged offenses in the indictment neither did
Mariethez's testimony allege that any federal crime had been committed as none of the counts in the indictment had to do with
any transactions between Mariethez and the undersigned.

302. The undersigned is not being charged with the unlicensed practice of law, mortgage fraud, bank fraud, carrying a fake ID,
badge or handcuffs and nothing in Mariethez's testimony solicited by the government is evidence of mail or wire fraud.
j. HENRY MALINAY ONE OF THE PERSONS WHO SCAMMED HOMEOWNERS

303. The govemment called Henry Malinay (hereinafter "Malinay") as one of its' witnesses against the undersigned.
304. The govemment KNEW that Malinay was one of the former employees of the undersigned that the undersigned fired for
violating company policies and procedures.

305. The govemment received numerous complaints against Malinay and his group which includes Edna Franco, Rowena
Valdez, Angelita Pasion and Anabel Cabebe because of their scheme to defraud homeowners and the undersigned.
306. The govemment made a deal with Malinay that if he lied and testified against the undersigned he would not go to jail for
his crimes.

307. Malinay stated that he KNEW what he did was wrong and that he did what he did at the direction of Edna Franco.
308. Upon cross examination the undersigned questioned Malinay as to why he and his other co-conspirators formed a copy
cat company similar in name to the undersigned and Malinay testified that they formed it AFTER the undersigned was
incarcerated because they still wanted to help the people while the undersigned was incarcerated.
309. The undersigned then exposed Malinay to be a liar and presented Malinay with a copy of the signature card that he and
his other co-conspirators signed when they opened up a business account in the mainland under the name of MORTGAGE
ENTERPRISE on August 7, 2013 and then another account on August 27, 2013.
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310. After confronting Malinay with his obvious iie, Malinay then stated that he didn't know the undersigned had been
incarcerated until Edna told him which is also an obvious lie.

311. The undersigned questioned Malinay as to whose idea it was to forge the undersigned's documents and change the name
on the documents to MORTGAGE ENTERPRiSE instead of MORTGAGE ENTERPRISE INVESTMENTS and Malinay stated
that is was Franco's idea.

312. The undersigned questioned Malinay as to who wouid be the one to file the motions in court to fight the foreclosures since
he didn't know nothing about the law and Malinay stated that Franco was suppose to answer the complaints and file motions on
behalf of the clients.

313. The undersigned questioned Malinay did he remember that the undersigned placed his picture, Franco's and Hep Guinn's
picture on the undersigned's website as scam artist after the undersigned found out what these charlatans had done and
Malinay testified that he didn't remember no website and didn't see no website with his picture on it notifying the pubiic that he
was a scam.


314. The undersigned then produced one of the government's exhibits which was a deposition that Malinay testified at before
James Evers of the DCCA and asked Malinay to read the conversation between him and Evers. Malinay then stated that he
couidn't read Engiish which the court now KNOWS is a iie because the undersigned INTENTIONALLY asked multiple
government witnesses who were Fiiipino if every Fiiipino chiid had to go to schooi to learn to read, write and speak English and
all of them unanimously stated yes.

315. Malinay's lie that he couidn't read Engiish was an attempt by him to not read his incriminating statements however,
Kobayashi allowed the undersigned to read the deposition to Malinay on the record.

316. The undersigned read the portion of the deposition where Malinay stated to Evers that the undersigned had placed his
picture on the undersigned's www.usacommonlaw.com website and that it was very damaging to him and that he needed it off
the website because it was affecting his business.

317. After another one of Maiinay's lie was exposed Malinay continued to place the blame on Edna Franco and that he was just
a recruiter which the evidence proves otherwise because Malinay was listed as a partner and owner on the bank account of
MORTGAGE ENTERPRISE.

318. Malinay's testimony solicited by the govemment was filled with blatant lies and fabrication of the facts that the undersigned
methodically exposed through questioning and presentation of exhibits.

319. Malinay testified that he has not done any jail time for ail of the crimes he committed and the innocent people he victimized
using the undersigned's good name and reputation and deceiving people into thinking that the company he set up with his co-
conspirators was the same company of the undersigned.

320. Malinay admitted that he was the one that scammed those homeowners and it is Malinay that should be sitting in jail and
not the undersigned.

321. The testimony of Malinay is not credible because Malinay had an extreme incentive to iie (which he did)to obtain leniency
at his sentencing and to avoid from going to jail.

322. Nothing in Malinay's testimony proved any of the alleged charges in the indictment because none of the mail and wire
fraud counts have anything to do with Malinay but Malinay is in fact the one who committed the crimes against the homeowners
that the government called as witnesses, yet Malinay was never charged with any of the counts in the indictment but instead
recently plead out to conspiracy to avoid going to trial and being convicted by a jury and being sent to prison.
323. Ail of the complaints that were filed in DCCA and OCP were against MORTGAGE ENTERPRISE, Malinay, Cabebe,
Franco and Valdez and NONE of the complaints were against the undersigned, MORTGAGE ENTERPRISE INVESTMENTS or
COMMON LAW OFFICE OF AMERICA.
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SUMMARY

    The government has called Its' witnesses and has presented its case and failed to meet the burden of proof beyond a
reasonable doubt that the undersigned committed mail and wire fraud. The government's main focal point of its argument was
that the undersigned is not a licensed attorney who is a member of the bar, the undersigned is carrying what they allege is a
fake ID, badge and handcuffs and that the undersigned did not have the proper license to operate his business in Hawaii and
somehow has committed mortgage fraud. The allege offenses that the government focused so much time and energy to get
across to the jury are actually state charges and the State of Hawaii could have pursued those charges against the undersigned
if they felt that a crime had been committed. However, the government did not file any charges against the undersigned for
mortgage fraud, bank fraud, money laundering, carrying a fake ID, badge or handcuffs, unlicensed practice of law or failure to
obtain a proper business license but charged the undersigned with mail and wire fraud.
  The government did not specify with no particularity as to how the undersigned committed the wire fraud and mail fraud. The
govemment did not outline what in the particular emails were false, misrepresentation or omission but just listed a bunch of
emails and 16 payments from two(2)clients that they say constitute mail fraud. The govemment's argument was baseless,
meritless and nonsensical and the govemment by its own silent acquiescence admitted that there was nothing wrong with the
undersigned's business as long as the customers brought their payment to the office instead of mailing them. The
undersigned was not charged with mortgage fraud, bank fraud or money laundering and the govemment is using the payments
that were lawfully obtained from clients as the basis of two of the wire fraud counts wherein a former employee, Mary Jean
Castillo wired two money grams to the undersigned's mother. The govemment has conceded that payments that were brought
to the office were lawful but only payments that were mailed were somehow fraudulent. All of the payments at that time were
payments that were brought to the office and not mailed because at that point in time the MEI bank account was at First
Hawaiian Bank and customers didn't have to mail their payments but brought their payments to the office and then their
payments were deposited.
  The govemment in its indictment did not mention ONE payment that was brought to the office as being illegally or unlawfully
obtained but only Identified two customers payments which was Melvyn Ventura and Evelyn and Amold Subia. In it's indictment
the govemment claimed that the undersigned never refunded any clients payments who requested a refund but the record
shows that the undersigned refunded EVERY client that filled out a refund request and requested a refund.
  The FBI agents the govemment called as witnesses all testified that the undersigned has not been charged with any federal
crimes in any other state and that there were NO COMPLAINTS from any clients against the undersigned nor his company in
Hawaii or in any other states. The former clients that the government called were exposed as liars on the witness stand and that
they had been coerced to lie and fabricate their story to assassinate the character of the undersigned. However,two of the
government's own witnesses, Mary Jean Castillo and Melvyn Ventura both testified that the undersigned is a good man, a man
of honesty and integrity, a man that lives by faith and spiritual principles of the bible and that they STILL trust the undersigned
and that the undersigned fights for the rights of the people and would never do anything to defraud anyone because of his faith.
  The undersigned proved that there was no intent to deceive or defraud anyone and that all of the actions of the undersigned
was done to protect homeowners from foreclosure and to expose the fraud that had been perpetrated upon them by the banks,
the FBI and the courts.
  The govemment's case revealed that the real culprits of these crimes were Anabel Cabebe and Henry Malinay who both took
plea deals to escape from going to prison for their crimes. One reoccurring narrative with the homeowners who were called to
testify is that they were signed up by Henry Malinay or Anabel Cabebe and thus this is where the defrauding originated from as
these two charlatans also defrauded and scammed the undersigned by going behind the undersigned's back and forging his
documents and setting up a fraudulent copy cat company to deceive homeowners and to escape detection of their diabolical
intent.
  The undersigned through questioning of the government's witnesses showed that the witnesses were not credible and told
blatant lies and the FBI agents didn't fair no better in that they to were exposed in that they proffered testimony that they KNEW
was fabricated to make it appear that the undersigned somehow was listing addresses and offices that didn't exist when upon
examination the undersigned proved that he in fact had an office and the person that the FBI stated denied knowing the
undersigned actually did know the undersigned and transacted business with the undersigned to set up the office in
Washington, D.C.
  The things that the government has accused the undersigned of are mostly state offenses and the State of Hawaii had every
opportunity to file charges against the undersigned for carrying a fake ID, badge or handcuffs, the unlicensed practice of law,
mortgage fraud, mortgage rescue scheme or failure to obtain a proper business license. However, the state remained silent and
therefore acquiesce that in fact there was no state crimes committed and consequently there were no federal crimes committed.
CONCLUSION

 Based upon the foregoing and the governments own witnesses testimony and the fact that most of the govemment's
witnesses lied on the stand and the government never presented any evidence of mail and wire fraud as outlined in the
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elements of the indictment, the undersigned moves the court for a Judgment of Acquittal because the govemment failed to
prove all the elements of mail and wire fraud.

Executed this 16th day of February 2020.

Righteously submitted,

Isl Anthony Williams
Private Attomey General
Counsel to the Poor(Psalms 14:6)
Common Law Counsel(28 USC 1654, First Judiciary Act of 1789 section 35)
